     Case 1-24-45433-ess        Doc 1-11     Filed 12/31/24     Entered 12/31/24 15:26:10




                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NEW YORK


----------------------------------------------------x
In Re:                                                                       Case No.

                                                                             Chapter 11
1550 Bedford Avenue LLC



                              Debtor(s)
----------------------------------------------------x



     VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS



               The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.




Dated: Brooklyn, New York


                                                        ___________________________________
                                                        _ Debtor


                                                        ___________________________________
                                                        _ Joint Debtor


                                                        ___________________________________
                                                        _s/Attorney for Debtor




USBC-44                                                                                     Rev. 11/15
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                           E
                         PL
      M
   SA
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                                       E
                         PL
      M
    SA
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1550 Bedford Ave LLC
199 Lee Avenue #693
Brooklyn, NY 11211

20/20 Inspections Inc.
3716 Fort Hamilton Parkway, Suite 100
Brooklyn, NY 11218

1 Seal Usa LLC
544 Park Ave #431
Brooklyn NY 11205

Abe Greenhut
209 Harrison Avenue
Brooklyn NY 11206

Able Fencing Inc
59 Collins Ave
NY 10977

Alumil Supply LLC
100A Broadway #155
Brooklyn NY 11249

Apartment Developers LLC
735 Bedford Ave
Brooklyn NY 11205

Bac Group III LTD.
366 Brodway
Brooklyn NY 11211

Ben Rottenstein Associates Inc.
147 Prince Street
Brooklyn, NY 11201

Big Apple Testing
9 Brooklyn Ave.
New Hyde Park, NY 11040

Blank Rome
1271 Avenue of American
NY NY 10020
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Brooklyn Steel Services
65 13th St.
Brooklyn, NY 11215

Buro Happold Consulting Engineerrs
100 Broadway 23rd ﬂoor
NY NY 10005

C & A Iron Works
65 13th St.
Brooklyn, NY 11215

Certiﬁed Lumber
470 Kent Ave
Brooklyn, NY 11249


City of New York Law Department
Bankruptcy Section
100 Church Street Room 3-118
New York, NY 10007

Connect Direct Communications Inc.
27 Blueﬁeld DR. unit201
Spring Valley, NY 10977


Corporation Counsel of the City of New York
100 Church Street Room 3-118
New York, NY 10007

DCP Bedford Graham, LLC
360 Hamilton Avenue, Suite 1110
White Plains, NY 10601


Downtown Capital Funding, LLC
1407 60th Street
Brooklyn, NY 11219

ECO USA LLC
100A BROADWAY - SUITE 188
BROOKLYN NY 11249

Elite Expediting
1155 47th Street
Brooklyn NY 11219
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Empire Fire Solutions
1361 40th St.
Brooklyn, NY 11218

Express Filing Inc
183 Wilson St #395
Brooklyn NY 11211

GRL Engineers
2175 MacDade Boulevard
Holmes, PA 19043

Guma Corp.
240 Water Street
Brooklyn, NY 11201

Leonard J Standberg
32 Smith Freeport
Freeport NY 11520

Moncon Inc.
56-21 Metropolitan Ave.
Ridgewood NY 11385

Moses Katz & Associates
389 Wiloughby Ave #101
Brooklyn NY 11205

MPI Plumbing
670 Myrtle #234
Brooklyn NY 11205

NYC Electrical Contracting Inc.
185 Spencer Street
Brooklyn, NY 11205

NYC FUEL SERVICE CORP.
5317 92nd St.
Elmhurst, NY 11373

ODA Architectural
250 Park Avenue South
Third Floor
New York, NY 10003

Perfect Pest Control
199 Lee Ave #631
Brooklyn NY 11211
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Quality Facility Solutions
199 Lee Avenue, Suite #297
Brooklyn, NY 11211
Queens GC
5218 19
Brooklyn NY 11204

Ra Engineering LLP
512 7th Ave 6th ﬂoor
NY NY 10018

Rent A Unit
543 Bedford Ave. suite#243
Brooklyn, NY 11211

Silvercup Scaﬀolding 1 LLC
146 Spencer St #4002
Brooklyn NY 11205

Sunbelt Rentals Inc
PO box 409211
Atlanta GA 30384

Thomas Tiles Inc
1438 Ovington Ave
Brooklyn NY 11219

ZETLIN & DE CHIARA
1251 Avenue of the Americas, 36th Floor
New York, NY 10020

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

New York State Department of Taxation & Finance
Bankruptcy Section P O Box 5300
Albany, New York 12205-0300

NYC Oﬃce of Administrative Trials and Hearings
66 John Street, 10th Floor
New York, NY 10038

NYC Department Of Finance (Dof)
66 John Street
2nd Floor
New York, NY 10038
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NYC Water Board (DEP)
66 John Street,2nd Floor
New York, NY 10038
Queens GC
5218 19
Brooklyn NY 11204

Elite Expediting
5218 19
Brooklyn NY 11204


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Westerman Ball
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Uniondale, New York 11556
